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                                IN THE
                     UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


UNITED STATES of AMERICA,                     )       No. 18 CR 728-1, -2, and -3
                       Plaintiff              )
                       v.                     )
ROMEO BLACKMAN,                               )       Judge John Robert Blakey
TERRANCE SMITH,                               )
JOLICIOUS TURMAN                              )
                       Defendants             )

      MOTION TO EXCLUDE ANECDOTAL EVIDENCE FROM FINGERPRINT
                            EXAMINERS
        Comes now, ROMEO BLACKMAN, TERRANCE SMITH, and JOLICIOUS
TURMAN, through their counsel, and move to exclude the portions of the testimony of
fingerprint examiner Savage regarding his anecdotal findings, pursuant to Fed. R. Evid. 702,
Daubert v. Merrell Dow, 509 U.S. 579 (1993), and Kumho Tire Co. v. Carmichael, 526 U.S. 137
(1999), moves this Court to enter an order excluding any expert testimony regarding their
anecdotal surmises regarding the likelihood or lack thereof of finding fingerprints on bullets or
fired evidence, or, in the alternative, to conduct an evidentiary hearing.
       In support thereof, Mr. Blackman, Mr. Smith, and Mr. Turman state as follows:
           1. On July 22, 2022, the Government provided a letter outlining its anticipated
              testimony from expert witnesses.
           2. Among other testimony referred to, the testimony of Chicago Police Department
              Officer and Evidence Technician Matthew Savage as an expert in the field of
              fingerprint analysis (expert disclosure letter p. 13).
           3. The summary provided refers to what might be fairly characterized as the
              “normal” information about fingerprint examination, comparison, and retrieval.
              However, in addition, the summary refers to the witness’s experience with and
              opinion that based upon their anecdotal evidence that the likelihood of finding
              fingerprint evidence on bullets or fired evidence is small. 1



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   From page 13 of the disclosure letter: “Officer Savage is expected to testify that this result was
not unexpected as latent prints are not frequently recovered from firearms, ammunition or other
items recovered from various crime scenes. The government anticipates that Officer Savage may
also testify regarding the number of firearms and ammunition and other evidence he has


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           4. While neither of the two other fingerprint examiners’ (Daniels and Barrett)
               summaries in the disclosure letter say the same, it is possible that they might, if
               asked, as they come from the same employer.
           5. In other words, at least Mr. Savage, and perhaps Mr. Daniels and Ms. Barrett if
               asked, are expected to say essentially “I have been doing this a long time and in
               my ___ number of examinations, I haven’t found fingerprints very often on
               bullets or fired evidence very often.”
           6. This is hardly the type of testimony that Fed. R Evid. 702 contemplates as being
               scientific.
           7. The Daubert Court discussed the intent of Rule 702 to focus on evidentiary
               relevance and reliability, reached through principles of methodology, not simply
               based on conclusions generated. Daubert, 509 U.S. at 595. The Court later
               recognized that conclusions and methodology may not be distinct from each
               other, but nonetheless, a methodological step that renders analysis unreliable thus
               renders the expert’s testimony inadmissible. In re Paoli R.R. Yard Pcb Litigation,
               35 F.3d 717, 745 (3d Cir. 1994).
           8. Defendant argues that an expert might very well conclude that fingerprints are not
               often found on bullets, but that expert must conclude that based on some scientific
               methodology, and they have not demonstrated that they will be able to do so.
               Here, Savage and possibly Daniels and Barrett offer no methodology, they offer
               only anecdote.
           9. Rule 702. Testimony by Expert Witnesses: A witness who is qualified as an
               expert by knowledge, skill, experience, training, or education may testify in the
               form of an opinion or otherwise if:
                   a. (a) the expert’s scientific, technical, or other specialized knowledge will
                       help the trier of fact to understand the evidence or to determine a fact in
                       issue;
                   b. (b) the testimony is based on sufficient facts or data;
                   c. (c) the testimony is the product of reliable principles and methods; and
                   d. (d) the expert has reliably applied the principles and methods to the facts
                       of the case.
           10. Testimony about one’s personal experiences is not subject to the rigors of a study
               or studies, to error rate analysis, or to replication studies.
           11. Ultimately, Daubert and 702 require that an expert, in the court room, “adhere to
               the same standards of intellectual rigor that are demanded in their professional
               work.” Lemmermann v. Blue Cross Blue Shield, 713 F. Supp. 2d 791, 797 (E.D.
               Wis. 2010) (quoting Rosen v. Ciba-Geigy Corp., 78 F.3d 316, 318 (7th Cir.
               1996)). There is no evidentiary support for testimony about “this hardly ever
               happens” as a scientific conclusion.



examined for prints and the number of latent prints suitable for comparison he found on those
items.”


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WHEREFORE, Mr. Blackman, Mr. Smith, and Mr. Turman pray that this Honorable court enter
an order excluding any expert testimony regarding their anecdotal surmises regarding the
likelihood or lack thereof of finding fingerprints on bullets or fired evidence, or, in the
alternative, to conduct an evidentiary hearing.




Respectfully Submitted


Andrea D. Lyon /s/                                      Tony Thedford/s/

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